     Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 1 of 15
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UNITED STATES DISTRICT COURT                      ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                     DOC#: _____________
                                                                            DATE FILED:          (., ..   CJ - I {g
    ------------------------------------------------------------)(
                                                                      09 Civ. 1989 (PAC)
    In re BARCLAYS BANK PLC
    SECURITIES LITIGATION                                             OPINION & ORDER


    ------------------------------------------------------------)(
HONORABLE PAUL A. CROTTY, United States District Judge:

           Dennis Askelson-the lone remaining lead plaintiff in this protracted litigation-moves

pursuant to Fed. R. Civ. P. 23 to certify a class of all purchasers in the AprilS, 2008 public

offering of Series 5 American Depositary Shares ("ADS") by Barclays Bank Pic ("Barclays"), to

pursue classwide claims of alleged material misrepresentations in the offering materials, in

violation of§§ 11 and 15 of the Securities Act. Defendants 1 object on grounds that (i) Askelson

lacks Article III standing; (ii) Askelson is not an adequate class representative; and (iii) if

certified, the class period should end no later than August 7, 2008.

           The Court holds (i) Askelson has Article III standing; (ii) the Rule 23 requirements

(including adequacy) are satisfied; and (iii) narrowing the class period at this time is not

appropriate. The Court grants the motion for class certification, appoints Askelson as class

representative, and appoints Kessler Topaz and Robbins Geller as co-class counsel.




1Defendants include Barclays Defendants and Underwriter Defendants. The Barclays Defendants are: Barclays,
Barclays PLC, Marcus Agius, David G. Booth, Sir Richard Broadbent, Richard Leigh Clifford, Fulvio Conti, Daniel
Cronje, Dame Sandra J.N. Dawson, Robert Edward Diamond, Jr., Gary A. Hoffman, Sir Andrew Likierman, Dr.
Christopher Lucas, Sir Nigel Rudd, Stephen George Russell, Frederik Seegers, John Michael Sunderland and John
Silvester Varley. The Underwriter Defendants are: Bane of America Securities LLC, Barclays Capital Securities
Limited, Citigroup Global Markets Inc., Merrill Lynch, Pierce, Fenner & Smith Incorporated, Morgan Stanley &
Co., Incorporated, RBC Dain Rauscher Inc., UBS Securities LLC and Wachovia Capital Markets, LLC (nlk/a Wells
Fargo Securities, LLC). Dkt. 142 at I, n.l.

                                                           1
        Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 2 of 15


                                             BACKGROUND
        A brief summary of this action's history will be helpful in understanding the present

motion. At commencement, the action involved four Barclays ADS offerings: the Series 2

offering of April21, 2006; the Series 3 offering of September 10, 2007; the Series 4 offering of

November 30, 2007; and the Series 5 offering of April 8, 2008. Freidus v. Barc/ays Bank PLC,

734 F.3d 132, 135 (2d Cir. 2013). Barclays sold about 218 million shares at $25 per share,

yielding proceeds of$5.45 billion. ld. The shares' value declined significantly in subsequent

years and, in March 2009, shares from all four offerings were trading at less than $7. Jd at 136.

        In early 2009, purchasers from the four offerings filed several class action complaints

alleging Defendants made material misrepresentations in the offering materials that, when later

disclosed, resulted in the decline in the shares' value, in violation of Sections 11, 12(a)(2) and 15

of the Securities Act. !d. at 136-37. One such suit, brought by Beverly Pellegrini on April 8,

2009, dealt with the Series 5 offering. Pellegrini v. Barc/ays Bank Pic, 09 cv 3608. In

December 2009, the Court consolidated the cases (including the Pellegrini case) and appointed

Marshall Freidus, Stewart Thompson and Dora Mahboubi as lead plaintiffs. Dkt. 27 ~ 3.

        On February 12,2010, the lead plaintiffs filed a Consolidated Amended Complaint

("CAC"). Dkt. 36. The CAC includes named plaintiff Martin Ettin, who allegedly acquired

Series 5 shares "issued pursuant or traceable to" the April 8, 2008 offering. ld.      ~   21. The CAC

alleges that the offering materials contained materially false and misleading statements because

Barclays (i) failed to timely and adequately disclose and write down its exposure to risky credit

market assets (id.   ~~   6, 12); (ii) failed to comply with applicable accounting standards and SEC

requirements (id.    ~~   132-51); and (iii) misleadingly assured investors that Barclays' extensive

risk management practices helped it avoid such credit market risks (id.      ~   11 ). The CAC further



                                                     2
        Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 3 of 15


alleges that "Barclays would not begin to make adequate disclosures of its capital credit market

exposures until [the August 7, 2008 release of] its 2008 Interim results, ... and certain vital

disclosures were not made until the annual report as of December 31, 2008." Jd ~ 184; see also

Dkt. 43, Ex. R.

       On January 5, 2011, the Court granted Defendants' motion to dismiss the CAC. 2011

WL 31548. First, the Court held that lead plaintiffs lacked standing to bring Section 12(a)(2)

claims because the CAC does not allege that they purchased the relevant shares directly from

Defendants. Id at *5. Second, the Court held that claims regarding the Series 2, 3 and 4

offerings were untimely. /d at *6-7. Third, the Court held that the CAC fails to adequately

plead Securities Act violations because the allegedly omitted credit market-related exposures

were not actually required to be disclosed, and the allegedly insufficient write downs of

Barclays' assets were based on subjective determinations and were therefore not actionable

absent plausible allegations that Defendants disbelieved the subjective valuations at the time they

made them. Id at *6-10. Finally, the Court held that Martin Ettin, the only Series 5 named

plaintiff, did not have adequately pleaded claims since he purchased his shares after August 7,

2008, when Barclays released its 2008 Interim results and allegedly "[began] to make adequate

disclosures of its capital credit market exposures." Id at *10 (quoting CAC ~ 184).

       On February 4, 2011, lead plaintiffs moved for reconsideration and leave to amend as to

the Series 5 allegations. Dkt. 57. They attached a proposed Second Consolidated Amended

Complaint ("SCAC") which, they argued, remedied the CAC's deficiencies as to standing and

allegations of Defendants' subjective beliefs about their valuation statements at the time they

made them. Dkt. 58 at 5-6. The proposed SCAC adds two new plaintiffs-Dennis Askelson and

Alfred Fait-who purchased Series 5 ADS after April 8, 2008 but before the August 7, 2008



                                                 3
        Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 4 of 15


disclosures. !d. at 6. The proposed SCAC also omits the CAC's allegation that the 2008 Interim

results began to make "adequate" disclosures as to Barclays' capital market exposures; it instead

alleges that the 2008 Interim results began to make "certain" disclosures as to Barclay's capital

market exposures. !d. Ex. 1, 195; see also Dkt. 63, 195. On May 31,2011, the Court held that

the proposed SCAC fails to state a claim, and so denied the motion for leave to amend as futile.

2011 WL 2150477, at *2-3.

       On August 19,2013, the Second Circuit affirmed in part and reversed in part. Freidus,

734 F.3d at 135. The court agreed that the Series 2, 3, and 4 claims were time-barred. !d. at

138-39. But the Second Circuit held that it was error to deny leave to amend as to the Series 5

offering. !d. at 139-40. First, the court held that, based on a supervening Second Circuit

decision, the proposed SCAC adequately pleads claims for disbelief of subjective opinions as to

the Series 5 offering and such claims need not be brought as fraud claims. !d. at 141. Second,

the court determined that the proposed SCAC remedies the Section 12(a)(2) standing defect by

alleging that lead plaintiffs purchased the securities directly from defendants. !d. Finally, the

court noted that the proposed SCAC "put[s] forth a set of new Lead Plaintiffs to bring the Series

5 Offering claims, in response to the district court's ruling that Martin Ettin was not a viable lead

plaintiff as he purchased his shares after the alleged omissions and misstatements were

revealed." !d. at 141-42. Those new lead plaintiffs "remedied" the "inadequacy of the Series 5

Offering lead plaintiff." !d. at 141 . The court remanded "to give the Lead Plaintiffs the

opportunity, with respect to the Series 5 Offering, to proceed with the claims in the Proposed

Complaint and with a new Lead Plaintiff." !d. at 142.

       Upon remand, lead plaintiffs Freidus, Mahboubi, Thompson, Askelson and Fait filed the

SCAC on September 16, 2013. Dkt. 66. The SCAC is identical to the proposed version except



                                                  4
        Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 5 of 15


for an added footnote that describes the Second Circuit's order. See id      ~   1 n.l. As such, the

SCAC contains the Series 2, 3, and 4 claims ofFreidus, Mahboubi and Thompson and the

amended Series 5 claims of Askelson and Fait, but it acknowledges "that the Second Circuit

affirmed the Court's order dismissing plaintiffs' claims for the Series 2, 3 and 4 Offerings, and

plaintiffs are no longer pursing [sic] claims regarding those three offerings." !d.

        On November 4, 2013, Defendants moved to dismiss the SCAC. Dkt. 72. They argued

(i) the SCAC violates the mandate rule because it includes Series 2, 3 and 4 claims even though

the Second Circuit affirmed their dismissal; (ii) the amended Series 5 allegations still fail to

adequately plead Section 11 or 12(a)(2) violations; and (iii) the SCAC still does not adequately

allege Askelson's and Fait's Section 12(a)(2) standing. Dkt. 73.

        On June 2, 2014, the Court denied the motion to dismiss. 2014 U.S. Dist. LEXIS 76161.

First, the Court reasoned that since the Second Circuit "approved of the proposed complaint in its

entirety," plaintiffs complied with the Second Circuit's mandate by filing an amended complaint

that was nearly identical to the proposed version. !d. at *8. Second, the Court read the Second

Circuit's decision as holding ''that all of Plaintiffs' Series 5 allegations ... state a claim for

relief," and explained that it is bound by that holding. Id at *7. Third, again relying on the

Second Circuit's decision, the Court held that Askelson and Fait were "adequate lead plaintiffs"

to pursue the Series 5 claims. Id at *8. On July 6, 2014, the Court issued an order appointing

Askelson and Fait as lead plaintiffs and removing Freidus, Thompson and Mahboubi. Dkt. 91.

        In May 2015, lead plaintiffs notified the Court that Fait was in failing health and might

have to withdraw as a lead plaintiff; he died in November 2015. Dkt. 108, 139. Prior to Fait's

death, he and Askelson moved to add Paul Spindel, another Series 5 purchaser, as an additional

lead plaintiff. Dkt. 115. Defendants opposed the motion primarily on grounds that Spindel's



                                                   5
        Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 6 of 15


claims were barred by the Securities Act's three-year repose period. Dkt. 119.

        On November 19, 2015, the Court denied the motion. 2015 U.S. Dist. LEXIS 156676.

As an initial matter, the Court determined that, absent other bars, lead plaintiffs could use Fed R.
                                                      '
Civ. P. 15(c) to add Spindel as an additional named plaintiff and relate back his claims for

timeliness purposes .. !d. at *8-10. But the Court held that the statutory repose period-which

cannot be tolled-bars application of Rule 15(c). !d. at * 10-12 (citing Police & Fire Ret. Sys. of

the City ofDetroit v. IndyMac MBS, Inc., 721 F.3d 95, 108-09 (2d Cir. 2013)). As such, the

Court held that adding Spindel as an additional lead plaintiff would be futile. !d. at *13.

                              ASKELSON'S PENDING MOTION

        Askelson now moves for class certification to pursue the Section 11 and 15 claims; he

has indicated that he intends to voluntarily dismiss the Section 12(a)(2) claim. Dkt. 142 at 1. He

proposes the following class definition: "All persons or entities who purchased or otherwise

acquired American Depositary Shares, Series 5, representing non-cumulative callable dollar

preference shares of Barclays Bank Pic, Series 5, pursuant or traceable to the public offering that

commenced on or about April 8, 2008." Dkt. 141, Ex. 1 ~I.

       Askelson bought 2,400 Series 5 shares on April 9, 2008 for $25 per share. Dkt. 149, Ex.

5 at 8. The share price began to drop precipitously in late 2008, ultimately bottoming out at

$4.95 on March 9, 2009, and then rapidly ascended. !d. Ex. 8. On April 8, 2009 (when

Pellegrini filed the initial Series 5 action), Series 5 shares closed at $12.82. !d. On February 4,

2011 (when lead plaintiffs filed the proposed SCAC and added Askelson), Series 5 shares closed

at $25.91. !d. On September 16, 2013 (when Askelson and Fait filed the SCAC), Series 5 shares

closed at $25.27. !d. He still owns all but one share that his broker sold without his

authorization. Dkt. 149, Ex. 1 at 312-13 .


                                                  6
        Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 7 of 15


        On September 15,2015, Askelson testified at his deposition that his role as lead plaintiff

was:

       Number one, to make sure - to review and make sure that the class counsel is
       adequate and are doing their proper job to the best of their abilities. Number two
       is to review all the pleadings. Number three, to review all the filings to make sure
       that they're in - cognizant with what is best for the class, and have conversation
       with class counsel ifl need. Next would be to participate in the discovery. And
       next would be to appear for deposition and be active with the file, or if it goes to
       trial, to represent myself at the trial.

       Id at 267. To that end, Askelson testified that he (i) read the complaint and understood

that it alleges false and misleading information in Barclays filings, (ii) read the Court's prior

opinion, (iii) understood that he was injured because he bought the shares for $25 and a year later

they were worth $4.96, and (iv) met with counsel over 50 times in the last four years. Id at 23,

146, 167,232-33,249-50,277-78,283.

       Askelson, however, could not articulate what misstatements Barclays allegedly made,

and testified that (i) he was not concerned at the time of his purchase in Apri12008 about

possible write downs of Barclays' assets, (ii) his injury was "hypothetical" in the sense that he

only lost the opportunity in 2009 to sell his shares at their original value, (iii) he was "happy

with" the investment as of today, and (iv) he believed that he was not suing Barclays personally,

but rather as a class member. Id at 191-93,208-09, 257-58.

                                           DISCUSSION

I.     Legal Standards

       A party seeking class certification "must establish that the four threshold requirements of

Rule 23(a}-numerosity, commonality, typicality, and adequacy of representation-are satisfied

and demonstrate through evidentiary proof that the class satisfies at least one of the three

provisions for certification found in Rule 23(b)." In re US. Foodservice, Inc. Pricing Litig., 729



                                                  7
        Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 8 of 15


F.3d 108, 117 (2d Cir. 2013) (internal quotation marks omitted). Askelson invokes Rule

23(b)(3), under which he must establish: "(1) predominance-'that the questions of law or fact

common to class members predominate over any questions affecting only individual members';

and (2) superiority-' that a class action is superior to other available methods for fairly and

efficiently adjudicating the controversy."' Id. (quoting Fed. R. Civ. P. 23(b)(3)). A putative

class plaintiff must prove that his proposed class satisfies each Rule 23 requirement by at least a

preponderance of the evidence. !d.

       Article III of the Constitution limits federal court jurisdiction to "Cases" and

"Controversies." The standing doctrine, which sets apart those "Cases" and "Controversies" that

are justiciable, has three necessary elements. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547

(2016). "The plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

decision." !d. "To establish injury in fact, a plaintiff must show that he or she suffered an

invasion of a legally protected interest that is concrete and particularized and actual or imminent,

not conjectural or hypothetical." Id. at 1548 (internal quotation marks omitted). "That a suit

may be a class action ... adds nothing to the question of standing, for even named plaintiffs who

represent a class must allege and show that they personally have been injured, not that injury has

been suffered by other, unidentified members of the class to which they belong." !d. at 1547 n.6

(internal quotation marks omitted). "[O]nce standing is established for a named plaintiff,

standing is established for the entire class." Kendall v. Emp. Ret. Plan ofAvon Prod., 561 F.3d

112, 118 (2d Cir. 2009).

II.    Analysis

       As to the Rule 23(a) requirements, Defendants do not contest numerosity, commonality,



                                                  8
         Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 9 of 15


or typicality. The Court holds that those requirements are met. 2 Nor do Defendants challenge

the Rule 23(b) requirements, which the Court also holds are satisfied. 3 Defendants also do not

dispute the adequacy of Kessler Topaz and Robbins Geller; the Court holds that they are

qualified to serve as class counsel. Fed. R. Civ. P. 23(g).

         Defendants object to certification for three reasons. First, Askelson, the only remaining

lead plaintiff, lacks Article III standing. Second, Askelson would not be an adequate class

representative. Third, if a class is certified, the class period should end on August 7, 2008.

         A.     Article III Standing

         Section 11 damages are calculated according to a statutory formula. Where, as here, the

plaintiff still holds his shares, damages are measured as "the difference between the amount paid

for the security ... and[] the value thereof as of the time such suit was brought." 15 U.S.C. §

77(k)(e)(1). Askelson contends that he is entitled to damages equal to the difference between

what he paid for the Series 5 shares ($25) and what the shares were trading for when Pellegrini

brought the first Series 5 on April 8, 2009 ($12.82). Dkt. 152 at 1. He argues that his right to

those damages establishes his Article III standing. Id at 3-4.

         Before addressing standing, the Court must determine the proper date for "the time such

suit was brought." There are three choices: (i) when Pellegrini brought Series 5 claims on April

8, 2009; (ii) when lead plaintiffs sought to add Askelson on February 4, 2011; or (iii) when



2 Numerosity is established because Barclays sold millions of Series 5 shares to hundreds or thousands of investors.
Commonality is established because each and all ofthe members of the proposed class were allegedly damaged by
the same alleged misrepresentations and omissions in the offering documents. Askelson's claims are typical of the
absent class members' claims since they arise out of the same alleged course of events and alleged
misrepresentations and omissions.

3Common questions of law and fact as to Defendants' liability predominate over any individual issues and any
damages would be calculated using a common statutory formula set forth in the Securities Act. 15 U.S.C. § 77k(e).
And as will be seen, a class action is superior to other litigation methods.


                                                          9
       Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 10 of 15


Askelson filed the SCAC on September 16,2013. The answer is critical here because the shares

were trading below the purchase price in April2009, but above the purchase price by February

2011 and September 2013. Dkt. 149, Ex. 8. The Securities Act does not define the term, but

several courts have ruled on this question. The majority of cases hold that the proper date is that

of the first-filed complaint, rather than of a later-filed amended or consolidated complaint. See

Alpern v. Utilicorp United, Inc., 84 F .3d 1525, 1541-44 (8th Cir. 1996); In re Brooks

Automation, Inc. Sec. Litig., 2007 WL 4754051, at *5-6 (D. Mass. Nov. 6, 2007); Beecher v.

Able, 435 F. Supp. 397,402 (S.D.N.Y. 1977); but see Merzin v. Provident Fin. Grp. Inc., 311 F.

Supp. 2d 674, 686 (S.D. Ohio 2004).

         Brooks Automation is most analogous. In that case, Charles Leech filed a putative

shareholder class action alleging Section 11 violations (among others) on June 19, 2006. 2007

WL 4754051, at *3. The court consolidated his case with another substantially identical action

and appointed the Los Angeles County Employees Retirement Association ("LACERA") as lead

plaintiff. Id On May 10, 2007, LACERA moved to amend the complaint to add a new named

plaintiff, the Sacramento County Employee Retirement System ("SCERS"), to address concerns

that LACERA lacked standing to assert the Securities Act claims. Id The court held that "the

time such suit was brought" for SCERS's Securities Act claims was June 19, 2006 because,

pursuant to Fed. R. Civ. P. 15(c)(3), SCERS's claims related back to the filing ofLeech's

complaint. !d. at *5-6. The Court so held because all ofRule 15(c)(3)'s conditions were met:

SCERS 's claims arose from the same events alleged by Leech, there was sufficient identity of

interest between Leech and SCERS because both were members of the putative class, and

defendants were not unduly prejudiced because they were on notice of the Securities Act

allegations from the outset. !d.



                                                10
       Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 11 of 15


        The same logic controls here. Askelson's claims arise from the same events originally

alleged by Pellegrini, both are members of the putative class, and defendants have been on notice

of the claims from the outset. Indeed, the Court already weighed the Rule 15(c)(3) factors earlier

in this case and held that for timeliness purposes a new lead plaintiffs claims relate back to the

filing of the initial complaint. 2015 U.S. Dist. LEXIS 156676, at *8-1 0; see also Beach v.

CitigroupAlt. lnv. LLC, 2014 WL 904650, at *19-20 (S.D.N.Y. Mar. 7, 2014). Nothing warrants

a different conclusion for damages purposes. Application of a later date would also lead to an

anomalous result: Askelson would be entitled to damages, if he had remained an absent class

member, but would forfeit those damages by stepping forward to represent the class, even though

nothing changed regarding the relevant class allegations. Additionally, locking in the applicable

damages at the filing of the first complaint promotes the statutory scheme by holding defendants

liable for material misrepresentations regardless of post-filing changes in price. See FHFA v.

Nomura Holding Am., Inc., 68 F. Supp. 3d 486, 491 (S.D.N.Y. 2014) ("Post-filing changes to the

security's value are irrelevant [in a Section 11 claim]. Just as defendants are not liable for

subsequent decreases, defendants cannot benefit from any subsequent increases in value.").

       Defendants argue that even if Askelson's damages are calculated from the filing of the

initial complaint, he still lacks Article III standing. They contend that for standing purposes the

Court must look at the state of affairs on February 4, 2011, the day Askelson asked to join the

case and, since the shares were trading above $25 on that day, Askelson has no injury in fact.

Dkt. 148 at 11-15. Not so. While Askelson's standing is indeed assessed as ofFebruary 4, 2011,

he had a claim on that day for Section 11 damages measured as the difference between the price

he paid for the shares ($25) and the price when the first complaint alleging Series 5 claims was

filed ($12.82). Askelson's claim to those damages satisfies injury in fact and establishes his



                                                 11
         Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 12 of 15


Article III standing.

         Defendants also are wrong that using Askelson' s Section 11 statutory damages to

establish injury in fact impermissibly "abrogate[s] the Art. III minima." Id at 14 (quoting

Gladstone, Realtors v. Vi//. Of Bellwood, 441 U.S. 91, 100 (1979). "[I]t has long been

recognized that a legally protected interest may exist solely by virtue of statutes creating legal

rights, the invasion of which creates standing, even though no injury would exist without the

statute." Donoghue v. Bulldog Inv 'rs Gen. P 'ship, 696 F.3d 170, 175 (2d Cir. 2012) (internal

quotation marks omitted); see also Spokeo, 136 S. Ct. at_1553 (Thomas, J., concurring)

("Congress can create new private rights and authorize private plaintiffs to sue based simply on

the violation of those private rights. A plaintiff seeking to vindicate a statutorily created private

right need not allege actual harm beyond the invasion of that private right.") (internal citation

omitted). Askelson seeks to vindicate his private right to Section 11 damages based on his

purchase of Series 5 shares and the alleged diminution in value of his shares. That satisfies the

Article III minima~ Askelson has standing. 4

         B.     Adequacy

         Next, Defendants argue that Askelson is an inadequate class representative. A class

representative must "fairly and adequately protect the interests of the class." Fed. R. Civ. P.

23(a)(4). The adequacy inquiry "serves to uncover conflicts of interest between named parties

and the class they seek to represent." Amchem Prod, Inc. v. Windsor, 521 U.S. 591, 625 (1997).

"In addition, courts also consider whether a putative representative is familiar with the action,


4
  Defendants also argue that Askelson lacks standing because he testified that, since he did not actually sell the
shares at their depreciated value, he sustained a "hypothetical" injury. Dkt. 148 at 15-16. Askelson also testified
that he was injured because he bought his shares for $25 per share and a year later, when the initial Series 5 suit was
brought, their value was substantially diminished. Dkt. 149, Ex. 1 at 166-67. For the reasons stated, that is a
cognizable Article III injury.


                                                          12
       Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 13 of 15


whether he has abdicated control of the litigation to class counsel, and whether he is of sufficient

moral character to represent a class." Lapin v. Goldman Sachs & Co., 254 F.R.D. 168, 176

(S.D.N.Y. 2008) (internal quotation marks and brackets omitted).

       Defendants posit three theories of inadequacy. First, Askelson is said to be subject to a

unique materiality defense, putting him in conflict with absent class members. He testified that

"the possibility of write-downs wasn't important to [him] as an investor" and that he is presently

"happy with his investment" as evidence that any misstatements or omissions were immaterial to

his investment decisions. Dkt. 148 at 18-19. But that testimony fails to raise a defense unique to

Askelson that puts him in conflict with the class. Materiality is judged according to an objective

standard; a fact is material if there is a substantial likelihood that a reasonable person would

consider it important in deciding whether to buy or sell shares. See TSC Indus., Inc. v.

Northway, Inc., 426 U.S. 438, 449 (1976). Since the materiality inquiry is objective, "the class is

entirely cohesive: It will prevail or fail in unison. In no event will the individual circumstances

of particular class members bear on the inquiry." Amgen Inc. v. Conn. Ret. Plans and Tr. Funds,

133 S. Ct. 1184, 1191 (2013). Thus, Askelson's testimony-even if probative to the materiality

inquiry~oes    not create a conflict that would render him an inadequate representative.

       Second, Askelson is said to be inadequate because ofhis apparent confusion as to the

theory of the case and whether he is suing in his individual capacity. Dkt. 148 at 21-22.

Askelson's testimony, however, demonstrates that he has reviewed the filings, has sufficient

familiarity with the facts and legal theories underlying the case, has been in regular contact with

his lawyers over the last four years, and understands his role in making decisions on behalf of the

class. Lapin, 254 F.R.D. at 177. That is sufficient to establish his adequacy. Given the complex

nature of the case, Askelson is "not required to have expert knowledge of all the details of the



                                                 13
       Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 14 of 15


case ... and a great deal of reliance on expert counsel is to be expected." N.J. Carpenters

Health Fundv. DLJ Mortg. Capital, Inc., 2011 WL 3874821, at *4 (S.D.N.Y. Aug. 16, 2011).

       Third, Askelson is said to be an inadequate representative because he will voluntarily

dismiss the Section 12(a)(2) claims. Dkt. 148 at 22-23. The Court disagrees. As lead plaintiff,

Askelson is permitted to make tactical decisions to pursue some claims and not others. In re

Bank ofAm. Corp. Sec., Deriv., and ERISA Litig., 2011 WL 4538428, at *1 (S.D.N.Y. Sept. 29,

2011 ). And Defendants offer no explanation as to why the decision to diligently pursue only the

Section 11 and 15 claims leaves absent class members worse off. Surely, Defendants' proposed

remedy--denying certification and depriving Askelson of the opportunity to pursue any claims

on.behalf of the class-would leave the proposed class far worse, given the bar on tolling the

Securities Act repose period after dismissal of a putative class action. See IndyMac, 721 F.3d at

109. Askelson is an adequate class representative.

       C.    Class Period

       Finally, Defendants contend that the class period should end on August 7, 2008. They

argue that it is law of the case that any misrepresentations or omissions were cured by Barclays'

release of its 2008 Interim results on August 7, 2008. "Under the law-of-the-case doctrine,

where a case has been decided by an appellate court and remanded, the court to which it is

remanded must proceed in accordance with the mandate and such law of the case as was

established by the appellate court." Sompo Japan Ins. Co. ofAm. v. Norfolk S. Ry. Co., 762 F.3d

165, 175 (2d Cir. 2014).

       Contrary to Defendants' position, neither this Court nor the Second Circuit has ever

found that the 2008 Interim results released on August 7, 2008 cured any or all alleged

misrepresentations or omissions. Rather, the Court ruled on a motion to dismiss that the



                                                14
         Case 1:09-cv-01989-PAC Document 165 Filed 06/09/16 Page 15 of 15


allegation in the CAC that Barclays began to make "adequate" disclosures on August 7, 2008

rendered the CAC insufficiently pleaded as to post-August 7, 2008 purchasers. 2011 WL 31548,

at *10 (citing CAC, 184). The SCAC remedies that deficiency by alleging that the 2008 Interim

results contained "certain" (rather than "adequate") disclosures. Compare CAC , 184 with

SCAC, 195. Given the different wording, the complaint can no longer be read to allege that the

2008 Interim results disclosure contained sufficient information to cure prior

misrepresentations. 5 Rather, the time when the alleged misrepresentations were sufficiently

revealed is a question of fact that is not appropriate for resolution on a motion for class

certification. Freeland v. Iridium World Commc 'ns, Ltd, 233 F.R.D. 40, 43-44 (D.D.C. 2006).

Thus, it would be improper to limit the class period to August 7, 2008 as Defendants request.

                                                 CONCLUSION

         The Court grants the motion for class certification, appoints Dennis Askelson to represent

the class, and appoints Kessler Topaz and Robbins Geller as co-class counsel. Along with the

issuance ofthis Opinion & Order, the Court will endorse the proposed order (Dkt. 141, Ex. 1).

The parties are directed to appear at a status conference on July 27, 2016 at 11:15 am. The Clerk

is directed to terminate the motion at Docket 141.


    Dated: New York, New York                               SO ORDERED
           June 9, 2016
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                                                               tftW)4~
                                                            PAUL A. CROT Y
                                                            United States District Judge



5 Webster's Third New International Dictionary defines "adequate" as "fully sufficient for a specified or implied
requirement" or "legally sufficient." In contrast, Webster's Third defmes "certain" (as used in this context) as "of a
character difficult or unwise to specify-used to distinguish a . .. thing not otherwise distinguished or not
distinguishable in more precise terms."


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